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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

ROBERT VIGIL,

       Plaintiff,

v.                                                                  No. 20-cv-1265 PJK/SMV

CITY OF ESPAÑOLA,
CITY OF ESPAÑOLA POLICE DEPARTMENT,
RAYMOND ROMERO, SALLY BAXTER,
and MARK TRUJILLO,

       Defendants.

               ORDER SETTING TELEPHONIC STATUS CONFERENCE

       Date and time:         November 29, 2021, at 1:30 p.m. MST

       Matter to be heard: Status Conference

       A telephonic status conference is hereby set for November 29, 2021, at 1:30 p.m. MST.

Counsel must call the Court’s AT&T Conference Line, (888) 363-4734 (access code: 4382538),

to connect to the proceedings. Parties shall be prepared to discuss the status of discovery and

whether to schedule a settlement conference. Counsel are reminded to have their calendars

available for the hearing, as well as the calendar of any other person whose presence will be

required at the settlement conference.

       IT IS SO ORDERED.


                                                           _____________________________
                                                           STEPHAN M. VIDMAR
                                                           United States Magistrate Judge
